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IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
IN RE: )
) CHAPTER 13
TAMMY L. HOLLAN]), )
) CASE NO.: 18-11799
Dehtor. )
)

 

DEBTOR’S REQUEST FOR SANCTIONS AGAINST BANK OF AMERICA, AND
COUNSEL FOR BANK OF AMERICA

NOW COMES`Tammy L. Holland, Debtor in the above-referenced Chapter 13 case, and
shows this Court her Request for Sanctions against Bank of America, the law firm of Barrett
Daffin Frappier Turner & Engel, and Brandi Lesesne. This Request is being filed separately but
concurrently With Debtor’s Response to the Obj ection to Confirmation and Obj ection to the Proof
of Claim of Bank of America, which are the events requiring the imposition of sanctions. ln

support of this request, Debtor avers the following:

STATEMENT OF FACTS

1. The Debtor filed this Chapter 13 case on December 19, 2018. Her Chapter 13 plan
proposed a payment of $455 a month, for a minimum of 36 months, with unsecured
creditors to receive a dividend of 0%/$100.

2. On February 6, 2019, Bank of Arnerica filed an objection to continuation through its
counsel, Brandi Lesesne, of the law firm Barrett Daffin Frappier Turner & Engel
(hereinafter “BDF”). (Doc 15).

3. Bank of America objected to confirmation of the Debtor’s Chapter 13 plan, claiming the
Debtor had failed to disclose property located at 2109 Freshly Mill Road (hereinafter
“property”) in Irmo, South Carolina. The objection further claimed that the Debtor owed
Bank of America $201,238.52 and that a secured proof of claim for this amount would be

Leiden and Leiden

A Professional Corporation
330 Telfair Street

Augusta, Georgia 30901
706-724-8548
courtinfo@leidenandleiden.com

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filed shortly after the obj ection. The objection further stated that Debtor’s Chapter 13 plan
failed to provide for payments on this loan.

The property had originally been owned by the Debtor and her former husband. The Debtor
quitclaimed her interest in the property to her ex-husband pursuant as part of their divorce
in 2013.

The Debtor filed a Chapter 13 bankruptcy in the United States Banlcruptcy Court for the
district of South Carolina on May 2, 2013, being Case No. 13 _ 02609. The Chapter 13
plan in the 2013 case called for the surrender of the Debtor’s interest in the subject
property to Bank of America.

The Debtor later converted her case to a Chapter 7 bankruptcy, and surrendered the subject
property pursuant to her statement of intentions She received a Chapter 7 discharge which
included the debt to Bank of America on May 7, 2015.

Because the Debtor had no ownership interest in the property at thc time the case was
filed, and had not transferred it within the two years prior to filing her instant case, she had
no present or previous interest in the property to disclose at the time of the filing of her
instant Chapter 13 petition
Because the previous debt to Bank of America had been discharged on May 7, 2015,
Debtor had no financial obligation Which Bank of America could seek to collect from her
in this Chapter 13 case. Therefore, there was no debt owed to Bank of Arnerica for the
Debtor to disclose
Since the Debtor does not own any property which is security for the Bank of America
debt, and as the Bank of Arnerica debt has been discharged and can no longer be collected,
Bank of America has no standing with which to contest the confirmation of the debtor’ s
Chapter 13 plan.

Since the Debtor does not own any property which is security for the Bank of America
debt, and as the Bank of America debt has been discharged and can no longer be collected,
Bank of Arnerica has no right to tile a proof of claim.

Neither Brandi Lesesne nor any other attorney in the specific employ of BDF appeared to

prosecute the objection to continuation at the hearing held on February 11, 2019. Instead ,

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A Professr`onal Corpomtion
330 Telfair Street

Augusta, Georgia 30901
706-724-8548
courtinfo@leidenandleiden.com

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the representation of Bank of America at the hearing was assigned to local counsel, Nathan
Huf`f.

12. Debtor’s counsel met with Nathan Huff on the morning prior to the afternoon hearing and

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provided him with a copy of the attached email to Brandi Lesesne, as well as a compilation
of exhibits to support the various grounds for withdrawal of` the objection and the proof of
claim.

ln the period before the continuation hearing, Nathan Huff performed his own research at
his own expense, and obtained a copy of the 2013 quitclaim deed of` the subject property
nom Richland County, South Carolina. As a result, Mr. Huff confirmed that the subject
property had been transferred, and the debt discharged, just as Debtor’s counsel had

maintained in his email to Brandi Lesesne.

14. Debtor’s counsel met With Jane Miller, the staff attorney for the Chapter 13 Trustee, prior

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to the 2200 session, and was informed that the Debtor’s Chapter 13 case could not be
continued without a significant increase in the monthly payment, because of the Bank of
America claim, which was a secured claim that had not been addressed in the plan. Ms.
Miller informed counsel that in order to confirm her case that day, the Debtor would have
to sign a Trustee’s motion to confirm plan in which she agreed to increase her monthly
payment in an amount sufficient to comply with the terms of her proposed plan, and pay
the Bank of America claim in full over 60 monthS. Because of noticing requirements, any
objection to the proof of claim of Bank of Amen'ca would have to be resolved at a later
date.

The confirmation hearing was the last matter conducted at the Court’s 2:00 calendar. lane
Miller appeared for the Chapter 13 trustee, and Nathan Huff appeared as local counsel for
Bank of America. The Debtor was also present, having taken time off from her
employment at AAA Sign Company to be present for the hearing

16. Ms. Miller informed the Court that the case was coniirmable in all other aspects, except for

the increase in payment needed to fund the Bank of America claim, if it was allowed.

17. While Mr. Huf`f stated in open court that he was in agreement that the Bank of Anierica

debt had been discharged in the Debtor’s 2013 bankruptcy case, and that the subject

Leiden and Leiden

A Professr'onal Corporation
330 'I`elfair Street

Augusta, Georgia 30901
706-724-8548
courtinfo@leidenandleiden.corn

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property had been transferred, he had not been given authority by Bank of America or BDF

as local counsel to withdraw the proof of claim.

18. Consequently, the only procedural remedy available to the Debtor was to request a

continuance of confirmation, in order to allow her the opportunity to file an objection to the

claim of Bank of America.

19. That objection is pending as of the date of the filing of this motion.

CLAIM FOR SANCTIONS

The allegations set forth in previous Statement of Facts being paragraphs 1 - 19 are

reincorporated herein, and the following additional allegations are asserted in support of the

Debtor’s Claim for Sanctions.

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Upon receipt of the Objection to Confirrnation of Bank of America, Debtor’s counsel sent
an email to Brandi Lesesne at the email address listed on the objection in which counsel
informed her of the transfer of the subject property, and the discharge of the debt to Bank
of America by virtue of the bankruptcy case filed in South Carolina in 2013. A copy of that
email is attached as Exhibit l, and incorporated by reference herein.

The email specifically requested that Ms. Lesesne “withdraw your objection to
confirmation with prejudice, and acknowledge the discharge of your client’s debt.” The
email further warned that if the objection was not withdrawn, or if Bank of America
obstructed or delayed the upcoming continuation of the Debtor’s case, that appropriate
procedural remedies Will be sought.

Despite receiving counsel’s email and being informed that the debt to Bank of America
was discharged, Brandi Lesesne filed a proof of claim two days later on behalf of Bank of
America for a “Recorded Mortgage" in the total amount of $200,323.29. (Claim No. 2)
The Chapter 13 Trustee filed her own objection to confirmation (Doc. No. 16) based upon
the objection filed by Ms. Lesesne, which required a response by Debtor’s counsel The

Trustee objection was subsequently withdrawn

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A Profiessr'onal Corpormr'on
330 Telfair Street

Augusta, Georgia 30901
706-724-8548
courtinfo@leidenandleiden.com

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24. Ms. Lesesne responded by email to Debtor’s counsel after the filling of the proof of claim,

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but did not offer to withdraw the objection to confirmation or the proof of claim.

In affixing her electronic signature to page 3 of the Proof of Claim after being notified of
the discharge of the underlying debt, Ms. Lesesne acknowledged “1 have examined the
information in this Proof of Claim and have a reasonable belief that the information is true
and correct.” Ms. Lesesne’s electronic signature further declares “under the penalty of
perjury that the foregoing is true and correct.” (Claim No. 2)

BDF and Brandi Lesesne violated bankruptcy rule 9011(b)(3) by making allegations and
other factual contentions in the filing of the Obj ection to Confirrnation and the proof of
claim that had no evidentiary or factual support, and persisted in those allegations despite
being provided specific, undisputed evidence to the contrary.

BDF, Brandi Lesesne and Bank of America, both individually and collectively,
intentionally violated 11 U.S.C. § 524(a)(2) by seeking collection of a discharged debt
from the Debtor.

BDF and Brandi Lesesne were specifically warned in the email from Debtor’s counsel
dated February 6, 2019, that appropriate procedural remedies would be sought for actions
which hindered or delayed the confirmation cf the Debtor’s case.

BOA and BDF perpetuated the sanctionable conduct by utilizing local counsel to appear at
the hearing, yet giving Mr. Huff no authority to remedy the conduct - despite his own
research and statement in open court that Bank of America had no grounds for either the
Objection to Confirrnation or the filing of the Proof of Claim.

The use of local counsel by Bank of America and BDF - without allowing such attorneys to
have the independent ability to negotiate, litigate, and accept binding compromises - is in
violation of the local rules of the Southern District of Georgia as well as the State Bar of
Georgia. Debtor’s case is a clear example of the defects in such a relationship, and the
reason why appearance of counsel with full and binding negotiating authority is essential to
the prompt resolution of disputes, and expeditious handling of bankruptcy cases pending in
this district.

Leiden and Leiden

A Projéssional Corporotr'on
330 Telt`air Street

Augusta, Georgia 30901
706-724-8548
courtinfo@leidenandleiden.com

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PRAYER FOR REL]EF

The Debtor respectfully requests that the following relief be granted by this coui't:

1) That Bank of America, BDF, and Brandi Lesesne be required to compensate the Debtor
for her out-of-pocket expenses and lost wages in having to provide information to respond to the
Bank of America obj ection, and for having to attend any and all unnecessary court appearances
due to the filing of the objection and proof of claim;

2) That Bank of America, BDF, and Brandi Lesesne compensate Debtor’s counsel, in an
hourly rate to be determined by the court, for all time expended with respect to Bank of America in
this case;

3) That Bank of America and BDF be required to appear before this Court and explain how
their use of local counsel with limited authority is in compliance with the local rules of the
Southem District of Georgia and the State Bar of Georgia with respect to appearance of counsel;

4) That sanctions be imposed against Bank of America, BDF, and Brandi Lesesne in an
amount sufficient to deter future misconduct, including, but not limited to: collection of a
discharged debt in violation of 11 U.S.C. § 524; violations of Bankruptcy Rule 9011, and refusal
to adhere to the rules regarding appearance of counsel in the Southern District of Georgia and State
of Georgia;

5) Any other relief which this Court deems just and proper.

respectfully submitted this hac day of FEZP?Q.QQLH ,2019.

 

Zane F. Leiden
Attorney for Debtor
State Bar No.: 445820

Leiden and Leiden

A Professional Corporation
330 Telfair Street

Augusta, Georgia 30901
706-724-8548
courtinfo@leidenandleiden.com

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Zane Leiden

From: Zane Leiden

Sent: Wednesday, February 06, 2019 6:38 PM
To: 'GA.SD.ECF@BDFGROUP.COM'
Subject: Tammy L Ho||andl 18-11799

Ms. Lesesue,

l have received the objection to continuation which you have filed in the above-referenced case. Acoording to
the objection, your client intends to file a POC for $201,238.52, and maintains that the Chapter 13 plan fails to
address this debt. By way this e-mail, 1 hope to give you the opportunity to discuss this matter with your client,
and reconsider the objection.

My client jointly owned the property at 2109 Freshly Mill Road in lnno, South Carolina (the “property"), with
her ex-husband, Maurice Caldwell. They divorced in 2013, and the final decree required that she quitclaim her
half interest in the property to him, which she did. My client has no knowledge as to if that deed was ever
filed. Following the divorce, she filed a Chapter 13 bankruptcy in the Columbia Division of the District of
South Carolina (Case No. 13-02609) on May 2, 2013, in which she disclosed the subject debt and and proposed
to surrender the property in her plan. Bank of America initiated a Non-Jury Mortgage Foreclosure on this
property in Richland County on November 22, 2013, presumably because her ex-husband had defaulted on the
loan, and also because her plan provided for the surrender of the dcbt.

My client subsequently converted her Chapter 13 case to a Chapter 7 on January 21, 2015, and filed a statement
of intentions in which she surrendered her interest in the property to Bank of America. She received her
discharge on May 7, 2015, which included the Bank of America debt. A PACER search will confirm these
statements

As this debt was discharged in Case No. 13-02609, Bank of America has no claim against my client for which a
debt can be asserted, or a POC filed. Furtherrnore, my client has no ownership interest in the property, whether
by voluntary transfer or operation of law. By way of this e-mail, l am requesting that you withdraw your
objection to confirmation with prejudice, and acknowledge the discharge of your client's debt. 1 hope that the
objection was simply the product of oversight, or poor client communication and that it can be immediately
withdrawn without any prejudice to my client's upcoming confirmation hearing on Monday. But if the
objection is not withdrawn, and serves to obstruct or delay the confirmation of my client's case, appropriate
procedural remedies will be sought

l welcome the opportunity to discuss this matter in more detail, especially if your client feels that the objection
should be prosecuted

      

AWHNHY$ AT MW*

 

Zane P. Leiden

330 Telfair Street
Augusta, GA 30901
(706) 724-8548

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
IN RE: )
)
Tammy L. Holland ) Chapter 13
) Case No.: 18-1 1799
)

 

CERTIFICATE ()F SERVICE

l hereby certify that l have this day served upon the following parties a copy of the foregoing
DEBTOR’S REOUEST FOR SANCTIONS AGAINST BANK OF AMERICA. AND COUNSEL
FOR BANK OF AMERICA by First Class Mail placing the same in United States Mail with proper
postage affixed thereon to the following addresses:

Barr€ff, Dai`f'lll, Fl'appi€l', Tlll‘ner & Brandi Lesesne Nathan Huff
Engel, LLP 4004 Belt Line Rd, Ste. 100 1223 George C Wilson Dr,
4004 But Ltne Rti, ste. 100 Addittm, Tx 75001 Augusta, GA 30999

Addisoli, TX 75001

l hereby certify that l have this day served a copy of the foregoing DEBTOR’S REQUEST FOR
SANCTIONS AGAlNST BANK OF AMERICA` AND COUNSEL FOR BANK OF AMERICA upon
the following by electronic filing

Ofi`ice of the
Chapter 13 Trustee

Dttted; 'f{“l -» ,2019.

 

Leiden and Leiden

A Professt`onal Corporation
330 Te|fair Street

Augusta, GA 30901
706-724-8548
cotu'tinfo@[eidenandleiden.com

